                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     Northern Division

A/S Dan Bunkering Ltd.,                   *

       Plaintiff,                         *   Civil Action No. 1:19-cv-02909-RDB
v.
                                          *
Medmar Inc.,                                  IN ADMIRALTY
                                          *
       Defendant,
and                                       *

Archer Daniels Midland Company, et al.,   *

      Garnishees.                         *

       *       *      *          *   *    *   *     *      *     *      *

Cockett Marine Oil DMCC,                  *

and                                       *

Moran Towing Corporation                  *

       Intervening Plaintiffs,            *
v.
                                          *
Medmar Inc.,
                                          *
       Defendant,
and                                       *

Archer Daniels Midland Company, et al.,   *

      Garnishees.                         *

       *       *      *          *   *    *   *     *      *     *      *

                      UNOPPOSED MOTION FOR LEAVE TO FILE
                           INTERVENING COMPLAINT
       Cockett Marine Oil DMCC and Moran Towing Corporation hereby move pursuant to

L.A.R.(e)(10)(“Intervenors’ Claims and Sharing of Marshal’s Fees and Expenses”) and Fed. R.

Civ. P. 24(b)(2) to intervene in this action.

       This motion is unopposed.

       Cockett Marine and Moran herewith exhibit their proposed intervening complaint and

submit a draft Order, and respectfully request that this Court grant their motion.

Dated: October 4, 2019.
                                                             /s/ J. Stephen Simms
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                                                             Moran.




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